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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §               Case No: 2:15-cv-1431-JRG-RSP
                                     §
 vs.                                 §               LEAD CASE
                                     §
 GUARDIAN PROTECTIONS SERVICES, §
 INC.,                               §
                                     §
       Defendant.                    §
 ___________________________________ §
 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §               Case No: 2:15-cv-1463-JRG-RSP
                                     §
 vs.                                 §               LEAD CASE
                                     §
 ADS SECURITY, LP                    §
                                     §
       Defendant.                    §
 ___________________________________ §



              PLAINTIFF’S OPPOSED MOTION TO DISMISS DEFENDANT
                      ADS SECURITY, LP WITH PREJUDICE


                Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff
 Rothschild Connected Devices Innovations, LLC (“Rothschild”) moves to dismisses its claims
 against ADS Security, LP. with prejudice.
        Wherefore, Rothschild moves this Court to dismiss this action and all claims by
 Rothschild against ADS Security, LP and any counterclaims or other claims that ADS Security,
 LP has, with prejudice, with each party to bear its own costs, attorney’s fees and expenses and
 request that the Court enter the proposed order of dismissal submitted herewith.
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 Dated: January 21, 2016                        Respectfully submitted,
                                                /s/Jay Johnson
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                                                ATTORNEYS FOR PLAINTIFF




                                CERTIFICATE OF CONFERENCE

 The undersigned certifies that, on January 20, 2016, he met and conferred with Defendant’s counsel
 concerning this motion and that Defendant’s counsel does not agree to this motion.

                                                /s/ Jay Johnson                         _
                                                Jay Johnson


                                    CERTIFICATE OF SERVICE

 The undersigned certifies that all counsel of record who have consented to electronic service are being
 served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on
 January 21, 2016.
                                                /s/Jay Johnson
                                                Jay Johnson
